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                                     United States District Court
                                    Southern District of New York
Virginia L. Giuffre,

Plaintiff,                                        Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

Defendant.

____________________________/

   CORRECTED1 DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF
PLAINTIFF’S REPLY TO MOTION TO EXCEED PRESUMPTIVE TEN DEPOSITION
                              LIMIT

             I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

        1.         I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

        2.         I respectfully submit this Declaration in Support of Plaintiff’s Reply to Motion to

Exceed Presumptive Ten Deposition Limit.

        3.         Attached hereto as Exhibit 1 is a true and correct copy of Johanna Sjoberg’s

Deposition Transcript excerpts dated May 18, 2016.

        4.         Attached hereto as Exhibit 2 is a true and correct copy of Rinaldo Rizzo’s Final

Deposition Transcript excerpts dated June 10, 2016.

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  On June 13, 2016, Ms. Giuffre filed her Reply in Support of her Motion to Exceed the
Presumptive Ten Deposition Limit (DE 203). This brief contained excerpts from Rinaldo Rizzo’s
“rough” deposition transcript, as the final transcript had not yet been completed by the
stenographer. On June 14, 2016, the stenographer issued the “final” deposition transcript, and
Ms. Giuffre hereby files the final transcript citations and excerpts to replace the “rough”
transcript that accompanied her supporting Declaration (DE 204-2). There are no other changes
to this document.
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       5.         Attached hereto as Exhibit 3 is a true and correct copy of Juan Alessi’s

Deposition Transcript excerpts dated June 1, 2016.

            I declare under penalty of perjury that the foregoing is true and correct.

                                                 /s/ Sigrid S. McCawley
                                                 Sigrid S. McCawley, Esq.
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Dated: June 14, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid McCawley
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of June, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

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                                                    /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley




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